EDTN Judgment in a Criminal Case (Rev. 1/12)
    Sheet 1




                                       United States District Court
                                                 Eastern District of Tennessee
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                          v.                                         (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses committed on or after November 1, 1987)
                    LORI A. PARRIS
                                                                     Case Number:1:09-cr-00123-017


                                                                     Myrlene Marsa
                                                                     Defendant's Attorney


THE DEFENDANT:

☒ admitted guilt to violation of condition(s) special and standard of the term of supervision.
☐ was found in violation of condition(s) after denial of guilt.


ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

        Title & Section                        Nature of Offense                   Date Violation Concluded                         Count

          See Petition and Order dated 2/24/2016 (Doc. 758).



        The defendant is sentenced as provided in pages 1 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984 and 18 U.S.C. 3553.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                     March 7, 2016
                                                                     Date of Imposition of Judgment

                                                                                             /s/ Travis R. McDonough
                                                                     Signature of Judicial Officer

                                                                                Travis R. McDonough, United States District Judge
                                                                     Name & Title of Judicial Officer



                                                                     Date




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    Sheet 2

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DEFENDANT:                Lori A. Parris
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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
8 months.

☒ The court makes the following recommendations to the Bureau of Prisons: .

  - Defendant should be placed into the Greenbrier Birthing Center located on the grounds of the Denmar Correctional Facility in
  Hillsoboro, West Virginia as soon as possible, and allowed such furlough as may be necessary to facilitate such placement.
  - Defendant should be allowed to participate in Mothers and Infants Nurturing Together (MINT) program at the Greenbrier
  Birthing Center.
☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:
     at    a.m. p.m. on
  ☐ as notified by the United States Marshal.
☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
  ☐ before 2 p.m. on .
  ☐ as notified by the United States Marshal.
  ☐ as notified by the Probation or Pretrial Services Office.


                                                            RETURN
I have executed this judgment as follows:




         Defendant delivered on                to               at                , with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL


                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL




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    Sheet 3 Supervised Release

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                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 years.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

☐ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
  substance abuse. (Check, if applicable.)
☒ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
☒ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
☐ The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
  student, as directed by the probation officer. (Check, if applicable.)
☐ The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION

     1.    The defendant shall not leave the judicial district or other specified geographic area without the permission of the Court or probation
           officer;
     2.    The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation office;
     3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4.    The defendant shall support his/her dependents and meet other family responsibilities;
     5.    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or
           other controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician;
     8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other places
           specified by the Court;
     9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony unless granted permission to do so by the probation officer;;
     10.   The defendant shall permit a probation officer to visit at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view by the probation officer;
     11.   The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
     12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the Court;
     13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by his/her criminal record or
           personal history of characteristics and shall permit the probation officer to make such notification and to confirm the defendants
           compliance with such notification requirement.


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    Sheet 3a Supervised Release

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                                           SPECIAL CONDITIONS OF SUPERVISION


     1.    The defendant shall participate in a program of testing and treatment for drug and/or alcohol abuse, as directed by the
           probation officer, until such time as he is released from the program by the probation officer.

     2.    The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time
           as the defendant is released from the program by the probation officer. The defendant shall waive all rights to confidentiality
           regarding mental health treatment in order to allow release of information to the supervising United States Probation Officer
           and to authorize open communication between the probation officer and the mental health treatment provider.




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